 USCA11 Case: 22-11150    Document: 45    Date Filed: 09/23/2022   Page: 1 of 16


             IN THE UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT

                           Case No. 22-11150-GG
                      L.T. Case No. 9:18-cv-80176-BB




 IRA KLEIMAN, as the Personal Representative of the Estate of David Kleiman,
                           plaintiff-appellant,

                                     v.

                             CRAIG WRIGHT,
                             defendant-appellee.


   REPLY IN SUPPORT OF APPELLEE’S MOTION TO DISQUALIFY
                  ROCHE FREEDMAN LLP


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Counsel for appellee
    USCA11 Case: 22-11150     Document: 45    Date Filed: 09/23/2022   Page: 2 of 16


                CERTIFICATE OF INTERESTED PERSONS
               AND CORPORATE DISCLOSURE STATEMENT

        Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure and

Eleventh Circuit Rule 26.1, Appellee Dr. Craig Wright (“Dr. Wright”), respectfully

submits the following Certificate of Interested Persons1 and Corporate Disclosure

Statement:

     1. The Honorable Judge Beth Bloom, U.S. District Judge

     2. Boies Schiller Flexner LLP, Counsel for Plaintiff-Appellant

     3. Brenner, Andrew, Counsel for Plaintiff-Appellant

     4. BTCN 1610-491 LLC (CE)

     5. Delich, Joseph, Counsel for Plaintiff-Appellant

     6. Devine Goodman & Rasco, LLP, Counsel for non-party Andrew O’Hagan

     7. Economides, Constantine Philip Counsel for Plaintiff-Appellant

     8. Estate of David Kleiman, Plaintiff-Appellant

     9. Fernandez, Amanda Lara, Counsel for Defendant-Appellee

    10. Fernandez, Michael Alexander, Counsel for Defendant-Appellee

    11. Freedman, Velvel, Counsel for Plaintiff-Appellant

    12. Glaser, Patricia, Counsel for non-party John Doe

    13. Glaser Weil Fink Howard Avchen & Shapiro LLP, Counsel for nonparty


1
  Based on the facts set forth in this motion, Ava Labs and Emin Gun Sirer appear
to be interested persons.
                                           1
USCA11 Case: 22-11150     Document: 45      Date Filed: 09/23/2022   Page: 3 of 16


John Doe

14. Harrison, Laselve, Counsel for Plaintiff-Appellant

15. Henry, Allison, Counsel for Defendant-Appellee

16. *Holtzman, Alexander, Counsel for Plaintiff-Appellant

17. Kass, Zalman, Counsel for Defendant-Appellee

18. Kleiman, Ira, Plaintiff-Appellant

19. Kuntz, Robert, Counsel for Defendant-Appellee

20. Lagos, Stephen, Counsel for Plaintiff-Appellant

21. Licata, Samantha, Counsel for Plaintiff-Appellant

22. *Lohr, Whitney, Counsel for Defendant-Appellee

23. *Markoe, Zaharah, Counsel for Defendant-Appellee

24. McGovern, Amanda Counsel for Defendant-Appellee

25. Mestre, Jorge, Counsel for Defendant-Appellee

26. Payne, Darrell Winston, Counsel for non-party John Doe

27. Pritt, Maxwell, Counsel for Plaintiff-Appellant

28. Rasco, Guy Austin, Counsel for non-party Andrew O’Hagan

29. The Honorable Judge Bruce Reinhart, U.S. District Magistrate Judge

30. Rivero, Andres, Counsel for Defendant-Appellee

31. Rivero Mestre LLP, Counsel for Defendant-Appellee

32. Roche Freedman LLP, Counsel for Plaintiff-Appellant

                                        2
 USCA11 Case: 22-11150       Document: 45      Date Filed: 09/23/2022   Page: 4 of 16


  33. Roche, Kyle, Counsel for Plaintiff-Appellant

  34. Rolnick, Alan, Counsel for Defendant-Appellee

  35. Stearns Weaver Miller Weissler Alhadeff & Sitterson, P.A., Counsel

  for non-party John Doe

  36. Wright, Craig, Defendant-Appellee

  37. Zack, Stephen, Counsel for Plaintiff-Appellant

* = no longer involved in representation

      Appellee certifies that no other judges, attorneys, persons, associations of

persons, firms, partnerships, or corporations have an interest in the outcome of this

appeal.




                                           3
    USCA11 Case: 22-11150     Document: 45     Date Filed: 09/23/2022    Page: 5 of 16


                     REPLY IN SUPPORT OF
     APPELLEE’S MOTION TO DISQUALIFY ROCHE FREEDMAN LLP

        Kyle Roche, on camera, recently exposed the guiding principles and

standard practices of his law firm, Roche Freedman LLP (“the Firm”): litigate on

behalf of undisclosed business partners. Sue every competitor in sight to learn its

secrets and keep regulators busy investigating those competitors. Employ litigation

as a weapon to further personal vendettas. Never settle, no matter what a client’s

interests or common sense may demand. Hold everyone outside the Firm – clients,

counsel, courts – beneath contempt.

        Roche Freedman LLP’s Response to the motion to disqualify the Firm is an

exercise in serial irrelevancy, trivialization and dissociation. None of it has any

merit, and all of it is unavailing. Roche has confessed to offenses not merely

personal, but institutional, and they call for the Firm’s disqualification.

        1. The Response is Largely Irrelevant

        It is irrelevant that the Firm’s corporate masters, whom Roche has admitted

the Firm serves, didn’t exist in precisely their present corporate form when the

Firm commenced the case that spawned this appeal.2 Roche and the Firm had a

glaring conflict in favor of those shadow clients for more than two years before




2
    Response at 8.

                                           4
    USCA11 Case: 22-11150    Document: 45      Date Filed: 09/23/2022    Page: 6 of 16


the case went to trial, and the Firm has that conflict now, as Roche admitted on

camera.

         Indeed, the Response’s assurance that Ava Labs (“Ava”) was not a Roche

Freedman client until “nearly two months after RF was formed”3 is not merely

irrelevant, but profoundly disingenuous. As corporate affairs are measured, the

formation of the Roche Freeman law firm and its representation of Ava occurred

essentially simultaneously. As Roche described it on camera, that “representation”

is really better understood as a partnership, coordinated by players with conjoined

interests, sharing not only office space, but also—as Roche boasted—top spots on

the Ava cap table. The association of Ava and Roche Freedman was foundational

to Roche’s singular business plan to become a kingmaker and enforcer in the

“crypto” world, where he would wield his law license like a cudgel against any

Ava competitor.

        Roche Freedman plainly has been in league with Ava and its founder, Emin

Gün Serir, for the past three years—the majority of this case’s lifespan—including

two full years before the Firm took the case to trial to further its admitted goals of

self-aggrandizement and harassment. Funded by shadow clients, working in their

interests, the Firm conducted this case exactly as Roche described on camera. No

true consideration was given to settlement, despite two formal mediations before


3
    Response at 8
                                           5
    USCA11 Case: 22-11150     Document: 45     Date Filed: 09/23/2022   Page: 7 of 16


two different mediators and substantial settlement offers on the table. Normal

economic considerations never attended this litigation after Roche Freedman began

working for Ava. The Firm was unconcerned with the dubious merits of a case it

pursued through trial (where the Estate failed on every claim, then took this

appeal), because the real purpose of the case wasn’t to seek recovery for actual

claims, but to vindicate Roche’s business plan for Ava’s benefit, which was in turn

central to the Firm’s own business. Roche admits on camera that—whyever and

however the Firm may have begun the case—as soon as Emin Gün Serir was on

board, the Firm was there to “take down” his perceived nemesis, Craig Wright.

        It also is irrelevant that Roche and his co-founding partner began this case at

the Boies Schiller firm.4 One needn’t speculate about why they left and took the

matter with them. Roche’s statements make the reasons plain: he left Boies Schiller

to do exactly what he did in this case for the benefit of his undisclosed non-lawyer

partners, his Attorney’s Oath and clients’ interests be damned. The Response

points to bare dates as if they somehow explain away this conflict. Not even close.5




4
    Response at 7.
5
 It can be assumed that a proper inquiry – such as The Florida Bar may undertake
– will reveal when the actual association between the firm Roche created and its
benefactors at Ava was first conceived.

                                           6
    USCA11 Case: 22-11150     Document: 45        Date Filed: 09/23/2022   Page: 8 of 16


        In the Firm’s Response, irrelevancies come not as single spies, but in

battalions. It is irrelevant that Roche’s outrageous behavior was recorded

surreptitiously, or by a “tabloid,”6 because he said what he said and even Roche

Freedman doesn’t claim otherwise. It would be irrelevant, even if it were true, that

the Firm hasn’t disclosed confidential information in this matter.7 Roche’s

admission that the Firm makes a regular practice of doing so would alone call the

Firm’s trustworthiness into unacceptable doubt.

        It also is irrelevant that Roche claims to have been drunk when he said what

he said about jurors, the Firm’s litigation targets, the Firm’s own clients, and the

Firm’s litigation practices,8 none of which he denies. Whether he was drunk or

sober, Roche is now on record as having admittedly said these scandalous things,

which have made him a justly notorious figure. It would be (and is) irrelevant if

disqualifying the Firm has “nothing to do with the merits of this appeal.”9 A

motion to disqualify rarely, if ever, turns on the merits of a case, but rather on the

worthiness of counsel to participate in it.



6
    Response at 5.
7
    Response at 8.
8
    Response at 11, 13.
9
    Response at 12.

                                              7
 USCA11 Case: 22-11150         Document: 45     Date Filed: 09/23/2022    Page: 9 of 16


        Moreover, it also is irrelevant if “the mere existence of a financial interest

does not warrant disqualification,”10 because Roche has made it clear that we are

far beyond a “mere existence” of a financial interest. The problem is not merely

that Firm partners have enormous equity in Ava, or that Roche was, as he crowed,

“the first person on the cap table.”11 The problem is Roche’s unequivocal, on-

camera declaration that his and his partners’ own financial interests are what drive

Roche Freedman’s litigation practice, to the exclusion of their clients’ interests, not

to mention their obligations to this Court and every other court.

        What is relevant, and cannot be denied, is that Roche’s on-camera

statements are admissions of his and his firm’s conflicts of interest under Rule 1.7

of the New York Rules of Professional Conduct.12 Further, the very statements




10
     Response at 13.
11
  https://d33wubrfki0l68.cloudfront.net/ba470e47132c5cb938f344be9ffd8261
adc0eca2/6c3ea/videos/c3-01-office-deal-for-perc-token-supply.mp4.
12
   This Court applies the professional conduct rules of the state where a lawyer is
licensed, to the extent they do not conflict with the Model Rules. Rule 1.A., 11th
Cir. R. Addendum Eight (Rules Governing Attorney Discipline in the U.S. Court
of Appeals for the Eleventh Circuit). Roche is licensed in New York (Bar No.
5517776), and appeared pro hac vice below. New York’s version of Rule 1.7 does
not conflict with Model Rule 1.7. Compare N.Y. RULES OF PROF’L CONDUCT R.
1.7 (Ex. B), with MODEL RULES OF PROF’L CONDUCT R. 1.7.

                                            8
USCA11 Case: 22-11150       Document: 45     Date Filed: 09/23/2022    Page: 10 of 16


themselves constitute violations of Rules 8.4(c) and 8.4(d),13 and admit to a

prevailing, improper, unlawful litigation philosophy and law firm business model

that not only violates, but is dependent on violating, Rule 8.4.

      2. The Response Trivializes Roche’s Profound Misconduct

      When not relying on irrelevancy, the Response seeks refuge in soft-pedaling

and trivializing Roche’s manifest offenses. The Response almost exclusively

characterizes Roche’s appalling admissions as “inappropriate,” describing them

thus six times in twelve pages.14 However, affixing an “inappropriate” label

doesn’t dispute the truthfulness of Roche’s statements, which Roche has admitted.

Nor should it distract the reader from the obvious conclusion that Roche has

confessed to practices that could support an investigation and very serious

sanctions.

      “Inappropriate” just won’t do. It would be “inappropriate” for Roche to

argue before this Court without wearing a necktie. It would be “inappropriate” for

him to keep talking when a judge asks a question. Roche’s statements were not

merely “inappropriate.” They were frank, candid admissions of ongoing, pervasive,


13
  Rules 8.4(c) and 8.4(d) prohibit attorneys from engaging “in conduct involving
dishonesty, fraud, deceit, or misrepresentation,” and “conduct that is prejudicial to
the administration of justice,” respectively.
14
  To be fair, the Response does (once) call Roche’s statements “regrettable.”
Response at 7. However, “regrettable” (like “inappropriate”) displays the same
contempt for the legal system as Roche’s on-camera comments.
                                         9
USCA11 Case: 22-11150        Document: 45     Date Filed: 09/23/2022   Page: 11 of 16


unethical conduct, and constituted a plenary denunciation of Roche’s oath as a

lawyer and his obligations to everyone—litigants, lawyers and judges—who

participates in the legal system.

      3. The Firm Cannot Disassociate from its Leader’s Conduct

      If distractions and downplaying won’t work, Roche Freedman evidently

hopes disassociation might. The Firm asserts that Roche’s contemptible beliefs and

practices are not those of his partners and associates. Response at 9. However, until

Roche condemned himself out of his own mouth, then went silent, he was the

founder, face and voice of his firm. Further, Roche founded the Firm, he admits, to

pursue precisely the wrongful ends, by precisely the unethical means, that he

described on camera. The suggestion that Roche’s beliefs, strategy and

fundamental legal philosophy somehow were unknown or unsubscribed to by his

partners—while Roche Freedman continues to boast about Roche’s “aggressive

approach” on its website15—beggars belief. The Firm cannot distance itself from

the legacy and sullied reputation of the lawyer whose name still headlines it.

      On camera, Roche clearly described the precepts that guided his vision for

his firm: to act for the Firm’s own financial interests, heedless of the merits of any

given case; to use litigation to learn Ava’s competitors’ secrets, so that information



15
  https://www.rochefreedman.com/attorneys/kyle-roche, last visited September 19,
2022.
                                     10
USCA11 Case: 22-11150       Document: 45      Date Filed: 09/23/2022   Page: 12 of 16


can be fed to regulators, exposing the competitors, while shielding Ava; and to

enforce Emin Gün Serir’s personal vendettas. Kyle Roche didn’t undertake these

tasks on his own. He weaponized his law firm to do so.

      New York Rule 1.10 is crystal clear: “While lawyers are associated in a

firm, none of them shall knowingly represent a client when any one of them

practicing alone would be prohibited from doing so by Rule 1.7, 1.8 or 1.9 . . . .”

(emphasis added). Kyle Roche cannot be involved in this case, and neither can his

partners. Roche Freedman is Roche’s creation. The Firm is subject to the

consequences Roche has brought upon it.

      4. The Overwhelming Appearance of Impropriety
         Militates in Favor of Disqualification

      The tenor of the Firm’s Response can be summarized thusly: “Our partner,

who created our firm and runs the show, said some ‘inappropriate’ and

‘regrettable’ things during moments of drunken excess. He confirms that he said all

of these things, but we don’t think they’re such a big deal. But even if they are a

big deal, we don’t think he really meant them. But even if he meant them, well,

um, that’s not how we think.”

      But the law doesn’t care what the Firm thinks. Disqualification is required

because it is a remedy not only for actual impropriety (which abounds here), but

also for the appearance of impropriety (which is all but blinding here).



                                         11
USCA11 Case: 22-11150        Document: 45     Date Filed: 09/23/2022   Page: 13 of 16


      Although the mere appearance of impropriety, standing alone, generally

does not support disqualification,16 it doesn’t stand alone here, not by a long shot.

The Firm’s violations of Rules 1.7 and 8.4 turn the appearance of impropriety into

a crucial factor. E.g., McGriff v. Christie, 477 F. App'x 673, 679 (11th Cir. 2012)

(disqualification based, in part, on a clear appearance of impropriety did not violate

due process). “In determining whether disqualification is appropriate, the court

may consider: (1) whether the conflict might affect the pending litigation; (2) at

what stage of litigation the disqualification issue was raised; (3) whether other

counsel can handle the matter; (4) the appearance of impropriety; (5) and the costs

of disqualification.” Kimberly-Clark Corp. v. Extrusion Grp., LLC, 2021 WL

2291078, at *6 (N.D. Ga. 2021) (emphasis added).

      Roche has admitted that his firm actually operates at the behest of its shadow

clients, Emin Gün Serir and Ava. He has admitted to suing Ava’s competitors and

luminaries in the cryptocurrency world (such as Dr. Craig Wright), for the

improper purpose of learning trade secrets that can be used for his shadow clients’

business advantage, to enforce their vendettas, and to keep the regulators busy

investigating their competitors. Further, Roche’s disclosures could hardly be more



16
   Armor Screen Corp. v. Storm Catcher, Inc., 709 F. Supp. 2d 1309, 1320 (S.D.
Fla. 2010) (reconciling cases and concluding that a mere appearance of
impropriety, absent an articulated violation of an attorney conduct rule, could not
stand alone as grounds for disqualification).
                                          12
USCA11 Case: 22-11150       Document: 45     Date Filed: 09/23/2022   Page: 14 of 16


notorious, especially among the many thousands of people whose professions

intersect with the world of blockchain technology and the many millions whose

fortunes are tied up in it. Since Roche’s disclosures, major media outlets, such as

Forbes, Bloomberg, Law 360, and Reuters all have reported on his misconduct and

the Firm’s conflicts.

      We fully understand that “[d]isqualification of one's chosen counsel is a

drastic remedy that should be resorted to sparingly.” Armor Screen Corp. v. Storm

Catcher, Inc., 709 F. Supp. 2d 1309, 1310 (S.D. Fla. 2010). That said, whatever

contrition might now reside in the hearts of the Firm’s partners, anyone—any

litigant, any lawyer, any judge, any member of the public—who considers this

sordid affair must conclude that “this just doesn’t look right.” It looks wrong

because it is wrong. Disqualifying Roche Freeman will right that wrong.17

                                    Conclusion

      Through his scandalous statements and the unethical conduct they brazenly

catalog, Kyle Roche has rendered Roche Freedman’s continued presence in this

matter improper and impossible. Disqualification is called for, and this motion

should be granted.




17
 Disqualifying the Roche Freedman firm will cause no prejudice to the appellant,
which will continue to be represented by competent, well-regarded counsel.
                                        13
USCA11 Case: 22-11150       Document: 45     Date Filed: 09/23/2022     Page: 15 of 16


Date: September 23, 2022.                     Respectfully submitted,

                                              By: s/ Andrés Rivero
                                              ANDRÉS RIVERO
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                     CERTIFICATE OF COMPLIANCE
      This motion complies with the type-volume limitation of Fed. R. App. P.

27(d)(2)(A) because it contains 2,222 words. This motion also complies with

typeface requirements of Fed. R. App. P. 32(a)(5) and the type-style requirements

Fed. R. App. P. 32(a)(6) because this motion has been prepared in a proportionally

spaced typeface using Microsoft Word Office Version 2013 and 14-point Times

New Roman type style.

                                           /s/ Andrés Rivero


                                        14
USCA11 Case: 22-11150       Document: 45     Date Filed: 09/23/2022   Page: 16 of 16


                         CERTIFICATE OF SERVICE
      I CERTIFY that on September 23, 2022, I electronically filed this document

with the Clerk of the Court using CM/ECF. I also certify that this document is

being served this day on all counsel of record by transmission of Notices of

Electronic Filing generated by CM/ECF.




                                        15
